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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

Vanguard Health & Wellness, LLC                       )   Case No. 17-04707
                                                      )
                               Debtor(s)              )   CHAPTER 11
                                                      )
                                                      )   Judge Jacqueline P. Cox


                 RESPONSE TO OBJECTION TO DEBTOR’S PROPOSED
                 MODIFIED PLAN OF REORGANIZATION FILED 3/8/18

       Vanguard Health & Wellness, LLC, the Debtor-in-Possession, by and through counsel,

responds to the Objection to Debtor’s Proposed Modified Plan or Reorganization filed on March

8, 2018 as follows:


I. The Plan Does Give the Judgment Creditors Secured Status

       The debtor does not dispute the fact that judgment creditors Tatyana Filek and

Aleksandra Dubovik (collectively “Dubovik”) obtained a judgment in the Circuit Court of Cook

County, Dubovik v. Vanguard, Case No. 2015 L 3548, in the amount of $183,688.00, and that

Dubovik had a judicial lien on the debtor’s assets as a result of the Citation to Discover Assets

issued by Dubovik.

       Given the judgment, citation and other pending collection actions, the debtor’s

bankruptcy petition and schedules were prepared and filed in a rush. While in retrospect, the

debtor believes that Schedule B substantially overstated the value of its assets on the date of

filing, for the sake of efficiency, the debtor has been willing to use the original Schedule B as a

basis for the liquidation analysis.

       According to the debtor’s liquidation analysis in Disclosure Statement filed on 3/8/18

(Exhibit A), based on Schedules B and D of the debtor’s petition (Exhibits B and C,



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respectively), after the claims of other secured creditors with higher priority and administrative

claims were satisfied, there would be $42,999.42 available to other creditors, including Dubovik,

in a Chapter 7 liquidation.

       While the debtor listed Dubovik as an unsecured creditor on its Schedule F, and even

though the debtor believes that it had no significant assets at the time of filing, the proposed plan

does offer to treat Dubovik’s claim as secured to the extent of $42,999.42, i.e., the residual value

of the debtor’s assets after satisfaction of administrative and other secured claims, plus interest at

an annual rate of 5.5%, in order to give Dubovik the present value of its secured claim as

required by the Supreme Court in Till v. SCS Credit Corp., 541 U.S. 465 (2004), with the

balance of its claim to be treated as a general unsecured claim, provided that Dubovik accepts the

plan. If it does not, the plan will treat Dubovik’s entire claim as a general unsecured claim, to be

paid 10 cents on the dollar along with most other general unsecured claims. See Plan, Article II,

§ 2.04 (Exhibit D).


II. The Debtor Is Entitled to a Discharge

       Dubovik also challenges the debtor’s right a discharge (Objection at 5). Such right in a

Chapter 11 case is provided for in § 1141 of the Bankruptcy Code, and the fact that a corporation

does not receive a Chapter 7 discharge is irrelevant. Dubovik’s surmise that the debtor may fail

to make any payment is entirely speculative. It is also noteworthy that the plan does provide that

“the Debtor will not be discharged of any debt . . . imposed by this Plan” (Plan, Article IX).

Therefore, Dubovik is not without recourse should its speculation materialize.


III. The Plan Satisfies the Absolute Priority Rule




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       The debtor agrees that the Absolute Priority Rule provides that a dissenting class of

unsecured creditors must be provided for in full before any junior class can receive or retain any

property under a reorganization plan. Norwest Bank Worthington v. Ahlers, 485 U.S. 197, 202

(1988). Courts, however, have recognized a “new value” exception to the rule. Under the

exception, equity security holders can satisfy the Absolute Priority Rule by injecting “new value”

into the business. The new value must be (1) necessary to the reorganization; (2) in the form of

money or money's worth; and (3) reasonably equivalent to the interest retained. Case v. Los

Angeles Lumber Prods. Co., 308 U.S. 106, 121-22, 60 S.Ct. 1, 10-11 (1939); Matter of Snyder,

967 F.2d 1126, 1131 (7th Cir. 1992).

       While the plan provides for equity security holders’ “contribution of knowledge,

experience and service to the Debtor in Possession’s reorganization,” it also requires such

holders to contribute “$50,000 in new capital to the operation of the Debtor in Possession on the

Effective Date of the Plan” (Plan, Article II, § 2.07). Since it is a service-based business, the

debtor has few assets other than business revenue which is either collateral for factoring

companies’ advance payment or part of its operating cash flow. The proposed new value is

necessary to the reorganization, in the form of money and reasonably equivalent to the interest

retained. Therefore, the plan satisfies the Absolute Priority Rule.


IV. Conclusion

       Dubovik’s objection being without merit, and several classes of creditors having voted to

accept the plan (Exhibit E, Section 1128 Ballot Report), the debtor requests that the court

overrule the objection and confirm the plan.




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                                                Respectfully submitted,

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